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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 IN RE FOREIGN EXCHANGE                                       :             10/30/2018
 BENCHMARK RATES ANTITRUST                                    :
 LITIGATION                                                   :         13 Civ. 7789 (LGS)
                                                              :
 -------------------------------------------------------------X        ORDER

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on January 12, 2018, Class Counsel filed a motion seeking attorneys’ fees

pursuant to Federal Rule of Civil Procedure 23(h). It is hereby

        ORDERED that by November 2, 2018, Class Counsel will file a letter on ECF stating:

        (1)    Whether any portion of the fee award will be used to pay fees other than for legal
               work performed on behalf of the Class (for example, referral fees), and, if so, what
               the fees are for and in what amount; and

        (2)    Whether any portion of the fee award will be used to pay any individual or entity
               not listed in Exhibit 2 to Class Counsel’s supplemental briefing (Dkt. No. 1087),
               and, if so, what the fees are for and in what amount.


Dated: October 30, 2018
       New York, New York
